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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN RE: RAIL FREIGHT FUEL SURCHARGE                        MDL Docket No. 1869
 ANTITRUST LITIGATION                                      Misc. No. 07-0489 (BAH/GMH)


 This document relates to: ALL CASES


 IN RE: RAIL FREIGHT FUEL SURCHARGE                        MDL Docket No. 2925
 ANTITRUST LITIGATION (NO. II)                             Misc. No. 20-8 (BAH)


 This document relates to: ALL CASES                       PUBLICLY FILED VERSION

                                                           Oral Argument Requested


                   DEFENDANTS’ MOTION TO EXCLUDE FALSE
                POSITIVES ECONOMETRIC OVERCHARGE MODELS

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), Defendants BNSF Railway Company, CSX Transportation, Inc.,

Norfolk Southern Railway Company, and Union Pacific Railroad Company (collectively,

“Defendants”) respectfully move to exclude the econometric overcharge models of Plaintiffs’

experts, Drs. B. Douglas Bernheim, E. Allen Jacobs, Jeffrey Leitzinger, James McClave, and

Leslie Marx. Those models produce legally disqualifying “false positives” because they cannot

distinguish between effects from conspiracy and effects from non-conspiratorial factors.

       Defendants’ Motion is supported by the following concurrently filed documents:

           1. Memorandum in Support of Defendants’ Motion to Exclude False Positives
              Econometric Overcharge Models
           2. Defendants’ Appendix
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Dated: July 17, 2024                          Respectfully submitted,


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